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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               TEXARKANA DIVISION

Judge Robert W. Schroeder III

MAXELL, LTD.                        §
                                    §
V.                                  §     CIVIL NO. 5:16cv178
                                    §
HUAWEI DEVICE USA, INC., et al      §
______________________________________________________________________________
                      MINUTES FOR MARKMAN HEARING
                HELD BEFORE JUDGE ROBERT W. SCHROEDER III
                               NOVEMBER 29, 2017

OPEN: 9:00 am                                         ADJOURN: 3:10 pm
______________________________________________________________________________
ATTORNEYS FOR PLAINTIFF: See Attorney Sign In Sheet

ATTORNEYS FOR DEFENDANTS:See Attorney Sign In Sheet

LAW CLERK:                          Aisha Haley

COURTROOM DEPUTY:                   Shedera Combs

COURT REPORTER:               Kelly Polvi
______________________________________________________________________________
______________________________________________________________________________

9:00 am       Case called; Geoff Culbertson makes introductions and announces ready on behalf
              of Plaintiff; Jennifer Ainsworth makes introductions and announces ready on
              behalf of Defendants; Court welcomes parties; Court outlines schedule for today’s
              hearing; Court discusses preliminary constructions

9:05 am       Tripp Fussell notifies the Court that the parties have agreed to the Court’s
              preliminary construction for terms 5, 6, 7, 15 and 16; Stanley Young states
              agreement on behalf of Defendant Huawei

9:06 am       Court instructs re presenting arguments on terms

9:07 am       Mr. Fussell gives case background

9:10 am       Mr. Fussell argues term 2. “a storage unit in which group information generated
              by classifying the plurality of base stations into groups” (`139 Patent claim 11)
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9:16 am     Mr. Young responds

9:24 am     Court questions; Mr. Young responds

9:26 am     Mr. Fussell responds

9:28 am     Mr. Young addresses `292 patent; Court responds

9:29 am     Mr. Fussell argues term 3. “combining” / “combined” (`292 Patent claims 1 and 2)

9:36 am     Mr. Young responds

9:38 am     Court questions; Mr. Young responds

9:49 am     Court questions; Mr. Fussell responds

9:54 am     Mr. Young responds

9:55 am     Mr. Fussell argues term 4. “GPS/cellular positioning results combining the GPS-
            based position result and the cellular-based position result with the GPS
            positioning reliability and the cellular positioning reliability” (`292 Patent claim
            1)

9:58 am     Court questions; Mr. Fussell responds

10:00 am    Mr. Young responds

10:01 am    Mr. Young argues terms 8. “cellular position calculation means for calculating the
            mobile handset’s position from the received cellular signals and outputting a
            cellular-based position result,” 9. “GPS reliability calculation means for
            calculating GPS positioning reliability based on the GPS-based position result”
            and 10. “cellular reliability calculation means for calculating cellular positioning
            reliability based on the cellular-based position result”(`292 Patent claim 1)

10:10 am    Court questions; Mr. Young responds

10:12 am    Mr. Fussell responds

10:17 am    Mr. Young responds

10:20 am    Mr. Fussell responds



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10:22 am    Court questions; Mr. Young responds

10:24 am    Mr. Fussell responds

10:25 am    Recess

10:39 am    Saqib Siddiqui argues term 11. “still pictures encoded by a second encoding
            method, and second pictures corresponding to the still pictures and having a
            smaller number of pixels than the still pictures are recorded” (`440 Patent claim 1,
            3, 5 and 7)

10:46 am    Anupam Sharma responds

10:57 am    Mr. Sharma requests to supplement the record with additional slides; Court will
            allow

10:58 am    Mr. Sharma continues with response

11:02 am    Court questions; Mr. Sharma responds

11:04 am    Mr. Siddiqui responds

11:09 am    Mr. Sharma responds

11:12 am    Mr. Siddiqui argues term 12. “first encoding method” (`760 Patent claims 1, 3, 4,
            6, 7, 9, 10, 12, 13 and 15)

11:16 am    Mr. Sharma responds

11:21 am    Mr. Siddiqui responds

11:23 am    Mr. Sharma responds

11:24 am    Mr. Siddiqui responds

11:25 am    Mr. Siddiqui argues term 14. “waits a longer time until switching” (`517 Patent
            claim 1)

11:30 am    Mr. Young responds

11:33 am    Court questions; Mr. Young responds

11:36 am    Mr. Siddiqui responds


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11:38 am     Mr. Siddiqui argues term 13 “"selection switching determination unit for selecting
             one from said first and second physical interfaces to switch to a selected physical
             interface,” "wherein said selection switching determination unit makes a selection
             switching based on the communication availability determined by said
             communication determination unit, the moving speed determined by said
             movement determination unit, and the position detected by said position detection
             unit" and "wherein said selection switching determination unit waits a longer time
             until switching of said physical interface when said movement determination unit
             determines the movement speed being faster" ('517 Patent claim 1)

11:44 am     Court questions; Mr. Siddiqui responds

11:45 am     Court questions; Mr. Siddiqui responds

11:46 am     Mr. Young responds

11:51 am     Mr. Siddiqui responds

11:53 am     Mr. Young responds

11:54 am     Mr. Siddiqui responds

11:56 am     Jamie Beaber argues term 17. “a detecting means for detecting whether a user
             associated medium at least approaches at least part of a housing of said apparatus”
             (`443 Patent claim 1)

12:01 pm     Howard Wisnia responds

12:04 pm     Mr. Beaber responds

12:07 pm     Mr. Wisnia responds

12:08 pm     Mr. Beaber responds

12:09 p.m.   Recess

1:33 pm      Court instructs as to afternoon arguments and asks if any agreements were reached

1:34 pm      Kfir Levy overviews `491 Patent

1:34 pm      Kfir Levy states an agreement was made to term 27; Mr. Levy furthers states that
             Maxell is in agreement with the Court’s construction and ZTE will rest on its
             papers with regard to terms 19, 20, 22, 25 and 26


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1:35 pm     Mr. Levy argues term 18. “controller means for detecting change in said method
            of compression and encoding, and for transferring the decoding program code
            corresponding to the method of the compression and encoding after being
            changed, from said read-only memory to said first memory” (`491 Patent claim 1)

1:44 pm     Mr. Wisnia responds

1:49 pm     Mr. Levy responds

1:53 pm     Mr. Wisnia responds

1:53 pm     Mr. Levy responds

1:54 pm     Mr. Levy overviews `317 Patent

1:56 pm     Mr. Levy argues term 21. “said device connected to said server outputting said
            location information and said direction information and receiving retrieved
            information based on said outputted information at said server” (`317 Patent claim
            6)

1:59 pm     Mr. Wisnia responds

2:02 pm     Mr. Levy responds

2:04 pm     Mr. Wisnia responds

2:05 pm     Mr. Levy responds

2:06 pm     Brian Nese overviews `729 Patent

2:07 pm     Mr. Nese argues term 23. “an image stability detector” (`729 Patent claim 1)

2:11 pm     Steve Moore responds

2:15 pm     Mr. Nese responds

2:17 pm     Mr. Nese argues term 24. “an amount of image-instability of the camera” (`729
            Patent claim 1)

2:21 pm     Mr. Moore responds

2:25 pm     Mr. Nese responds



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2:27 pm     Mr. Levy overviews `193 Patent

2:28 pm     Mr. Levy argues term 28. “variable amplitude amplifier” (`193 Patent claims 1
            and 7)

2:36 pm     Mr. Moore responds

2:43 pm     Mr. Levy responds

2:46 pm     Mr. Moore responds

2:48 pm     Mr. Nese overviews `794 Patent

2:49 pm     Mr. Nese argues 29 “function devices(s)” (`794 Patent claim 1) and “component
            device” / “component devices for performing different functions in the device”
            (`794 Patent claim 9)

2:51 pm     Nicole Cunningham responds

2:54 pm     Mr. Nese responds

2:56 pm     Mr. Nese overviews’ `695 Patent

2:57 pm     Mr. Nese argues term 30. "a controller for receiving a method of compression and
            encoding from said demultiplexer, for detecting whether said method of
            compression and encoding changes to another method of compression and
            encoding or not, and if said method of compression and encoding changes, for
            downloading the decoding program code corresponding to said another method of
            compression and encoding, to said memory from outside of said memory" ('695
            Patent claims 1 and 4)

2:59 pm     Mr. Wisnia responds

3:03 pm     Mr. Nese responds

3:06 pm     Court questions re term 18; Mr. Levy responds; Mr. Wisnia responds; Mr. Levy
            responds; Mr. Wisnia responds

3:09 pm     Court will take up remaining terms on the papers; Rulings on this hearing and
            other pending matters will be forthcoming

3:10 pm     Adjourned



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